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                          UNITED STATES BANKRUPTCY COURT
                           SOUTHERN DISTRICT OF FLORIDA

                                                     CASE NO: 11-44246-AJC
IN RE:
CARLOS JAVIER ALVAREZ
       Debtor
                                           /

                        TRUSTEE'S REPLY TO DEBTOR'S RESPONSE

        Nancy N Herkert, Chapter 13 Trustee, files this Reply to the Debtor's Response and states

as follows:

        1) 11 USC §1326 requires a debtor to make payments each month under a plan.

        2) The debtor in this case has failed to make those payments. The payments received by

the Trustee are:

        Jan 24, 2012 C.CK CASHIER'S CHECK #1173307581 $1,959.17
        Mar 07, 2012 C.CK CASHIER'S CHECK #1186004412 $1,959.17
        Apr 04, 2012 C.CK CASHIER'S CHECK #1173609030 $1,959.17

        3) The plan at the time of the confirmation hearing required payments of $1959.17 per

month

        4) At the confirmation hearing, the debtor's attorney agreed on the record that the case

would be dismissed unless the debtor paid an additional $5877.51 to the Chapter 13 Trustee.

        5) After the hearing, the debtor's attorney filed a new plan using the payments already

made to the Chapter 13 Trustee to make future payments, thus avoiding the requirement to make

monthly payments and to pay the debtor's disposable income to the Trustee.

        6) The post confirmation plan removed payments vested to Select Portfolio by this

Court's order (ECF #40)

        7) The amendment of the plan post confirmation denied the creditor and the Trustee due
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process as they could not object to the continuance under the post confirmation plan.

       8) The filing of a post confirmation plan to avoid dismissal is bad faith and the failure of

the debtor's attorney notify the Trustee of the amended plan and obtain consent to relieve him

from his agreement to provide additional funds is bad faith.

       9) The amended plan was filed to hinder and delay creditors from enforcing their rights.

       WHEREFORE, the Trustee requests that this Court enter an order of dismissal


       I hereby certify that a true and correct copy of the foregoing and the notice of hearing
generated through ECF was served through NEF on debtor's attorney on July 16, 2012


                                                     Submitted by
                                                     NANCY N. HERKERT, ESQUIRE
                                                     STANDING CHAPTER 13 TRUSTEE
                                                     FLORIDA BAR NO.: 441856
                                                     AMY E. CARRINGTON, ESQUIRE
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